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        Case 4:18-cr-00239-A Document 34 Filed 10/12/18


                          IN THE UNITED STATES DISTRICT COURT
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                          FOR THE NORTHERN DISTRICT OF TEXAS                                    OCT 12 AH 10: 19
                                  FORT WORTH DIVISION
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   UNITED STATES OF AMERICA                                                                          ~.

   v.                                                      No. 4:18-CR-239-A

   BOBBY CAMPBELL (01)

        GOVERNMENT'S RESPONSE TO DEFENDANT'S MOTION TO CONTINUE

           The government submits the following response to defendant Bobby Campbell's

   motion to continue the trial and pretrial deadlines (doc. 31), filed on October 9, 2018:

           Campbell requests a 30-day continuance of the trial and an extension of the

   pretrial deadlines. The government is unopposed, but believes an extension of the pretrial

   deadlines is sufficient to remedy the defendant's concerns. In other words, a continuance

   of the trial seems unnecessary.

           Campbell and his co-defendant, Sonia Cantu, were indicted on September 19,

   2018. The indictment alleges conspiracy to possess with intent to distribute

   methamphetamine, in violation 21 U.S.C. § 846 (21 U.S.C. § 841(a)(1) and (b)(l)(B)).

   The trial is scheduled for November 26, 2018. The deadline to file pretrial motions was

   October 11, 2018. 1

           On October 1, 2018, the government received a letter from Campbell requesting

   discovery. The letter appeared to be a standard discovery request, and the government

   assumed that discovery had already been fully provided.


   1
     On October 11,2018, Campbell filed two pretrial motions, a motion to sever (doc. 32) and a motion for
   a pre-trial determination of admissibility of pretrial statements (doc. 33).

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On October 9, 2018, the government learned that was incorrect during a phone call

between the government and Campbell's attorney. While some discovery had been

provided to Campbell, the government learned there were several items that had not yet

been provided. The government apologized for the oversight, offered to make the case

agent available to counsel, and assured counsel that full discovery would be immediately

provided. All but a few remaining items (the defendant's criminal history, two lab

reports, and one report of interview) was provided either that afternoon or the following

morning. As of this filing, the government believes all discovery has been provided to

Campbell with the exception of the above-mentioned report of interview and two lab

reports. The report of interview will be provided no later than Friday, October 12, 2018.

        Campbell's motion essentially requests additional time to review discovery to

determine whether pretrial motions should be filed. Because discovery in the case is not

voluminous, the government believes an extension of time to file pretrial motions is

sufficient to remedy the late production of discovery. The government apologizes for

inconveniencing the Court and the parties.




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                                              Respectfully submitted,

                                              ERIN NEALY COX
                                              UNITED STATES ATTORNEY



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on Ocd . ll. 1 Z...O I£ , the foregoing Government's Response
to Defendant's Motion to Continue was served by first class mail to Vincent Eugene
Wisely at 5601 Bridge Street, Suite 300, Fort Worth, Texas 76112, counsel for defendant.


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                                              CHRISTOPHER R. WOLFE
                                              Assistant United States Attorney




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